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  5   Attorney for defendant,
      Lorenzo Lopez-Testa
  6

  7                          IN THE UNITED STATES DISTRICT COURT
  8                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9

 10
      UNITED STATES OF AMERICA,                          Case No.: 19-CR-00518-JFW
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 12                   Plaintiff,                         MOTION FOR TRANSFER OF
                                                         DEFENDANT TO HOME
 13          vs.                                         CONFINEMENT
 14
      LORENZO LOPEZ-TESTA,
 15
                     Defendant.
 16

 17

 18                        MEMORANDUM OF POINTS & AUTHORITIES
 19          On January 6, 2020, Mr. LOPEZ-TESTA was sentenced to 36 months’ imprisonment in

 20   the Bureau of Prisons - the mandatory minimum sentence allowed for given his offense of
      conviction. This Court will likely recall its sentiments expressed at Mr. LOPEZ-TESTA’s
 21
      sentencing hearing that, but for the mandatory minimum sentence proscribed by law, a lower
 22
      sentence would have been imposed.
 23
             As evidenced by the Bureau of Prison’s Inmate Locator, Mr. LOPEZ-TESTA’s
 24
      projected release date is March 16, 2022– less than 20 months from today’s date. He is
 25
      currently housed at the Nevada Southern Detention Center. As of today’s date, 3.7% of
 26   detainees in facilities such as this are positive for Covid-19, that is, 835 people. (See
 27   Coronavirus/Covid-19 Resource Page, Oversight of ICE Detention Facilities: Examining Ice
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      Contractors’ Response to Covid-19 dated July 13, 2020). As his release plan is to live with his
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      sister in the San Diego area, this would allow him to be close to, and have the support of, not
  2
      only his sisters and their families but also his own family, including his son and daughter.
  3
                                                  I.
  4                                The Compassionate Release Standard
  5        As amended by the FIRST STEP Act, a court may modify a term of imprisonment on

  6   Motion by petitioner after considering the factors set forth in18 U.S.C.§ 3553 (a) if

  7
      "extraordinary and compelling reasons warrant such a reduction."18 U.S.C.§3582 (c) (l) (A) (i).
      "Extraordinary and compelling reasons" has been defined by the United States Sentencing
  8
      Commission ("Sentencing Commission") in U.S.S.G. § IB1.13, Application Note 1. The
  9
      Sentencing Commission has provided that a sentence may be modified due to the petitioner's
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      medical condition, age, or family circumstances and further defined the limits under which a
 11
      sentence reduction may be given under those justifications. U.S.S.G. § IB1.13, n. 1 (A)-(C).
 12
             The Sentencing Commission has also provided a "catch-all provision" that allows for a
 13   sentence modification upon a showing of an "extraordinary and compelling reason other than,
 14   or in combination with, the reasons described in subdivisions (A)through (C)." Id. at n.1(D);
 15   see also United States v. Fox, 2019 WL 3046086, at *3 (D. Me. July11, 2019) ("[T]he
 16   Commission's existing policy statement provides helpful guidance on the factors that support

 17
      compassionate release, although it is not ultimately conclusive"); United States v. Lisi, 2020
      WL 881994, at *3 (S.D.N.Y. Feb. 24, 2020) [T]he Court may independently evaluate whether
 18
      [petitioner] has raised an extraordinary and compelling reason for compassionate release...[but§
 19
      IBl.13's policy statement] remain[s] helpful as guidance to courts...."). However, a petitioner's
 20
      rehabilitation standing alone does not provide sufficient grounds to warrant a sentence
 21
      modification. 28 U.S.C. § 994(t). In sum, the Court may consider a combination of factors,
 22
      including but, not limited to, those listed in Application Note 1, in evaluating a petitioner's
 23   request for a sentence modification under the "catch-all provision."
 24                                            II.
                        LOPEZ-TESTA Exhausted his Administrative Remedies
 25
                           Before MDC Transferred him out of the Facility
 26
             On April 17, 2020, LOPEZ-TESTA sent his request for compassionate release to the
 27
      BOP explaining the underlying health conditions that specifically make him vulnerable to
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      COVID-19. (Exhibit 1) Thus, it has been over 30 days since LOPEZ-TESTA submitted his
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      request. Therefore, LOPEZ-TESTA's exhaustion requirement is satisfied. In response, Warden
  2
      Heriberto H. Tellez, Warden of the Metropolitan Detention Center, acknowledged Mr. LOPEZ-
  3
      TESTA’s request in a letter dated June 11, 2020. (See Exhibit 2) However, even if he did not
  4
      exhaust his administrative remedies, this Court should waive this exhaustion requirement given
  5
      the COVID-19 pandemic and the catastrophic health consequences it has for inmates with
  6   underlying health conditions. See United States v. Poulios, N. 2:09-cr-109, 2020 WL 1922775,
  7   at *1 (E.D.Va. April21, 2020); United States v. Casey, No. 4:I8-cr-4, 2020 WL 2297184, at *2
  8   (E.D.Va. May6, 2020); Miller v. United States, 2020 WL 1814084, at*2 (E.D. Mich. Apr.9,
  9   2020); Zukerman, 2020 WL 1659880, at *3; United States v. Perez, 2020 WL 1456422, at *3

 10
      (S.D.N.Y. Apr.1, 2020); Gonzalez, 2020 WL 1536155, at *2.
                                               III.
 11
           LOPEZ-TESTA is at Heightened Risk of Serious Illness from COVID-19 which
 12        Constitutes an Extraordinary and Compelling Reason for Sentence Modification

 13          LOPEZ-TESTA has set forth extraordinary and compelling reasons to modify his
 14   sentence because of the grave risk COVID-19 poses to individuals with underlying health
 15   conditions. During COVID-19, federal courts around the country have found that
 16   compassionate release is justified under the circumstances. Zukerman, 2020 WL 1659880, at

 17
      *4 citing Perez, 2020 WL 1546422, at *4; United States v. Colvin, 2020 WL 1613943,* 4 (D.
      Conn. Apr. 2, 2020); United States v. Rodriguez, No. 2:03-CR-00271-AB-l, 2020 WL
 18
      1627331, at *7(E.D. Pa. Apr.1, 2020); United States v. Jepsen, No. 3:19-CV-00073 (VLB),
 19
      2020 WL 1640232, at *5 (D. Conn. Apr.1, 2020); Gonzalez, 2020 WL 1536155, at *3; United
 20
      States v. Muniz, No. 4:09-CR-0199-l, 2020 WL 1540325, at *2 (S.D. Tex. Mar. 30, 2020);
 21
      United States v. Campagna, No. 16 CR.78-01 (LGS), 2020 WL 1489829, at *3 (S.D.N.Y. Mar.
 22
      27, 2020). LOPEZ-TESTA's circumstances are no different.
 23          LOPEZ-TESTA suffers from high blood pressure. According to the Centers for Disease
 24   Control and Prevention, individuals with high blood pressure are at heightened risk for severe
 25   illness from COVlD-19. In addition, the current rate of infection at institutions like Southern
 26   Nevada Detention Facility currently run by Corecivic where 500 employees are currently

 27
      infected as of July 13, 2020. (Examining ICE Contractors’ Response to Covid-19, Committee
      on Homeland Security, Border Security, Facilitation, & Operations (116th Congress), Monday,
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      July 13, 2020, Virtual). These conditions also make LOPEZ-TESTA particularly vulnerable to
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      COVID-19. Thus, LOPEZ-TESTA's underlying medical condition is severe putting him at
  2
      substantial risk for COVID 19.
  3
             As the court is well aware, COVID 19 has rapidly spread throughout prisons all over the
  4
      country. Statistics about the number of infections in BOP facilities may not be accurate given
  5
      the lack of testing. See United States v. Esparza, No.l:07-cr- 00294-BLW, 2020 WL l696084,
  6   at *1 (D. Idaho. April 7, 2020). Despite the BOP's protection measures, individuals housed in
  7   prisons remain particularly vulnerable to infection. See Muniz, 2020 WL 1540325, at *1; see
  8   also Esparza, 2020 WL 1696084, at *1 (noting that"[e]ven in the best run prisons, officials
  9   might find it difficult if not impossible to follow the CDC's guidelines for preventing the spread

 10
      of the virus among inmates and staff: practicing fastidious hygiene and keeping a distance of at
      least six feet from others"). Thus, the Court need not wait until a diagnosis of Covid-19 occurs
 11
      to determine whether to release LOPEZ-TESTA, especially when LOPEZ-TESTA suffers from
 12
      underlying health conditions that may become fatal if he contracts Covid-19. See Zukerman,
 13
      2020 WL 1659880, at *6 citing Rodriguez, 2020 WL 1627331, at *12 ("the Court did not
 14
      intend for that sentence to include incurring a great and unforeseen risk of severe illness or
 15
      death brought on by a global pandemic").
 16          Furthermore, the § 3553(a) factors weigh in favor of LOPEZ-TESTA's compassionate
 17   release. Outside of this conviction, LOPEZ-TESTA has no criminal history, and has maintained
 18   good conduct while in prison. He also has strong family support to return to upon release.
 19   LOPEZ-TESTA does not pose a danger to the safety of any other person or to the community.

 20   Thus, given the circumstances in Petitioner's case, extraordinary and compelling reasons exist
      for his immediate compassionate release.
 21
             Pursuant to the CARES Act, the court now has the authority to order Mr. LOPEZ-
 22
      TESTA transferred to home confinement to serve the remaining months of his sentence. Mr.
 23
      LOPEZ-TESTA has a reentry plan in place. His offense of conviction is a low-level, non-
 24
      violent offense. He does not pose a threat to the community. 18 U.S.C. §§3624(c) and
 25
      3621(b)(4) authorize this Court to recommend where a defendant should be incarcerated. This
 26   includes whether a defendant should be confined in a halfway house or in home confinement
 27   during the last year he or she is in custody. Although the court usually exercises this power at
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      the time of sentencing, nothing prevents it from doing so at any time the inmate is still serving
  1
      his sentence. See also, United States v. Ceballos, 671 F.3d 852, 856 n. 2 (9th Cir. 2011). We
  2
      respectfully urge you to do so now, and order the immediate transfer Mr. LOPEZ-TESTA to
  3
      home confinement to serve the remainder of his sentence.
  4
                                                 Conclusion
  5
              For the reasons stated herein, it is respectfully requested that this Court exercise
  6   its authority under 18 U.S.C. §§3624(c) and 3621(b)(4) and recommend to the Bureau
  7   of Prisons that Mr. LOPEZ-TESTA be immediately transferred to home confinement to serve
  8   the remainder of his sentence. We further request that this Court recommend that Mr. LOPEZ-
  9   TESTA complete his 14-day quarantine in the residence to which he is being transferred as

 10
      allowed for pursuant to AG Barr’s April 3, 2020, memo.
      Dated: Thursday, July 23, 2020                                Respectfully submitted,
 11
                                                                    _______/s/__________
 12
                                                                    Oliver P. Cleary
 13                                                                 Attorney for Defendant,
                                                                    Lorenzo Lopez-Testa
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                                  EXHIBIT 1
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  2

  3

  4                                OLIVER Patrick CLEARY
                                            Attorney-at-Law
  5                                         468 North Camden Drive, Ste. 200
                                              Beverly Hills, California 90210
                                                  Tel: (424) 324-8874
  6                                          Email: olivercleary@gmail.com
                                                           ⌘
  7                Friday, April 17, 2020
  8                Via email to:    LOS/ExecAssistant@bop.gov,
                                    Eliezer.ben-shmuel@usdoj.gov,
  9
                                    LOS/lobby@bop.gov
 10
                   John LeMaster, Acting Warden,
 11                Metropolitan Detention Center
                   Los Angeles, CA
 12
                   Re: Lorenzo Lopez-Testa [Reg#78577-122]
 13

 14                To whom it may concern:
                          I am writing to request a transfer to home confinement for my
 15                client, Lorenzo Lopez-Testa, pursuant to §12003(b)(2) of the CARES
                   Act, and the Attorney General’s April 3, 2020, Memorandum finding
 16                the COVID-19 emergency conditions are materially affecting the
                   functioning of the Bureau of Prisons. Mr. Lopez-Testa is medically at-
 17
                   risk. Transferring Mr. Lopez-Testa will decrease the population and
 18                risk at MDC-Los Angeles without endangering the greater community.
                           As the Attorney General indicated in his April 3, 2020 memo,
 19                “inmates with a suitable confinement plan will generally be
                   appropriate candidates for home confinement rather than continued
 20                detention at institutions in which COVID-19 is materially affecting
                   their operations. As MDC-Los Angeles, like all facilities, is on
 21
                   lockdown, COVID-19 is materially affecting its operations.
 22                       Mr. Lopez-Testa should be approved for transfer. He has been in
                   custody since 2019, with full community corrections, he would be in
 23                residential reentry by July 2020. As you know, he has maintained a
                   clear record of conduct throughout his term of confinement. His offense
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                                  EXHIBIT 2
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                                       CERTIFICATE OF SERVICE
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   2
              I hereby certify that on this 23rd day of July, 2020, I filed the foregoing MOTION
   3
       FOR RECOMMENDATION TO BUREAU OF PRISONS TO TRANSFER MR. LOPEZ-
   4
       TESTA TO HOME CONFINEMENT with the Clerk of Court using the CM/ECF system,
   5
       which will send notification of such filing to counsel of record, specifically;
   6   Greg Marmaro, AUSA Gregg.marmaro@usdoj.gov
   7

   8   Dated: Thursday, July 23, 2020                        /s/_____________
   9                                                         Oliver Cleary
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